
658 S.E.2d 661 (2008)
STATE of North Carolina
v.
Alfred William RILEY, Jr.
No. 618P07.
Supreme Court of North Carolina.
January 24, 2008.
Alfred William Riley, Jr., Pro Se.
John G. Barnwell, Assistant Attorney General, Robert F. Johnson, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 27th day of December 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 24th day of January 2008."
